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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
                                 WESTERN DIVISION


 JANE ROE,                                            Case No.    1:18-cv-00312-TSB

 Plaintiff,                                           Judge BLACK

 v.                                                    SUPPLEMENTAL MEMORANDUM
                                                       OF LAW IN SUPPORT OF MOTION
 UNIVERSITY OF CINCINNATI, ET AL.                      FOR PRELIMINARY INJUNCTION

 Defendants




        Plaintiff Jane Roe respectfully submits this Supplemental Memorandum in support of the

Motion for a Preliminary Injunction. This Motion is accompanied by the Declaration of Mark

Wieczorek (“Wieczorek Decl.”) and the Supplemental Declaration of Jane Roe (“Roe Decl.”).

Plaintiff also relies upon the UC Administrative Record and Hearing Transcripts (filed under seal at

Doc#16). Plaintiff has also filed an Amended Complaint based on information received in discovery.

        As a result of discovery provided by Defendants, Jane Roe is now proceeding on two legal

theories to support the Motion for a preliminary Injunction:

        1.     The Equal Protection Claim described in the Original Memorandum and Complaint;

               and

        2.     A new Due Process Claim described infra and set forth in the Amended Complaint.




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ADDITIONAL FACTS: THE APRIL 2017 COMPLAINT

       On April 10, 2017, the University of Cincinnati (“UC”) Title IX Office received a complaint

alleging that Plaintiff was the victim of a sexual assault. The respondent in that case was another

student in the ROTC program, CB. The April 2017 Complaint alleged that on or about April 8, 2017,

CB had “Pulled [Jane Roe] onto his lap and put his hands under her shirt and touched her breasts.

(Incident Report, #UC_00002). Plaintiff had first reported this matter to Major Ford of the UC

ROTC Unit. Major Ford then reported the matter to the UC Title IX Office.

       The UC Title IX Office conducted an investigation into the April 2017 Complaint. (See,

generally, May 13, 2017 Report, #UC_00038-00050; Witness Statements and Exhibits to Report,

#UC_0002-00037.) The investigation revealed that Plaintiff had been drinking on the night of the

April 8, 2017. She explained that she did not initially react to the inappropriate touching due to a

“mixture of . . . intoxication and I didn’t really expect him to grab me.” (Witness Statement,

#UC_00011.) The investigation further revealed that Plaintiff had been texting with John Doe on

that evening. After the alleged sexual assault by CB, Plaintiff sent the following two texts to John

Doe:




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(Report Exhibit, UC#00032.)1 Plaintiff explained that CB was her ROTC squad leader, and that she

sent the text message to John Doe because “… he had already touched me. I was afraid that he was

going to do something else.” (Witness Statement, UC#00011.)

          John Doe was in the room when the alleged inappropriate sexual contact by CB occurred.

When interviewed by the UC investigator, CB denied touching Plaintiff. John Doe was also

interviewed. John Doe contradicted some of CB’s testimony, including CB’s claim that CB was not

sitting next to Plaintiff. (Compare Witness Statements, #UC_0029 and #UC_00018.) John Doe also

told the investigator that CB had, at one point, “grabbed [Plaintiff] and put her onto the couch” but

explained that he did not observe the inappropriate sexual contact. (Witness Statement, #UC_00029)

          On June 28, 2017 UC conducted an ARC hearing on the allegations of the April 2017

Complaint. Defendant Mitchell, who also chaired the hearing panel at issue in this case, chaired the

hearing panel.2 CB denied misconduct at the hearing and John Doe testified on his behalf. John Doe

testified:

          what I saw from that night, the only thing that – contact between [CB] and [Plaintiff],
          other than talking, was when [Plaintiff] was standing in front of [CB], between him
          and the TV, he moved her onto the couch beside him and then we were all playing the
          [video] game after that.

(June 28, 2017 Hrg. at 63-64, #UC_00257.) Plaintiff also testified at the hearing. The committee

ultimately found CB not responsible for the allegations in the April 2017 Complaint. (June 28, 2017

Hrg. at 83, #UC_00262.)

          Even though UC found CB not responsible, CB was placed on a form of probation by the

ROTC unit as a result of Plaintiff’s complaint against him. Plaintiff explains in her Declaration that


1
  Other text messages from Plaintiff were consistent with her story. One message to a witness from
that evening said, “CB scared me . . .” A previous message to a witness said, “Hey, so [CB] is hitting
on me like a lot and idk what to do . . . he told me I was hot and then grabbed my ass.” (Report
Exhibits, #UC_00034-00035)
2
    Mitchell has been added as a defendant in the Amended Complaint.

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this ultimately led to CB’s dismissal from the ROTC program, and that CB, John Doe, and others

blamed Plaintiff for his dismissal from the ROTC program:

        He was later expelled from the ROTC unit after he committed another, unrelated,
        violation of the rules. He likely would not have been expelled for this later violation
        had he not been placed on probation as a result of my complaint. CB and his friends,
        including John Doe, blamed me for CB’s removal from the ROTC unit.

(Roe Decl. ¶3(c).)

                                    ADDITIONAL ARGUMENT

A.      The Discovery Provided By UC Supports A Finding That Plaintiff Has A Substantial
        Likelihood of Success on Her Equal Protection Claim

        Jane Roe has brought a claim pursuant to 42 U.S.C. § 1983 against the individual defendants

in their official capacities for injunctive relief. The basis of this claim is that the individual defendants

have violated Plaintiff’s right to Equal Protection guaranteed by the Fourteenth Amendment to the

United States Constitution in a manner described in Doe v. Miami Univ., 882 F.3d 579 (6th Cir. 2018).

Plaintiff’s claim is that UC failed to initiate the University's disciplinary process after receiving credible

information that John Doe may also have violated the sexual-misconduct policy.

        As noted in Plaintiff’s original Memorandum, Miami Univ. involved a situation where during

the investigation of whether the male student had committed misconduct, the investigators and

administrators had received information that the male student was intoxicated and, as a result, unable

to provide consent to sexual activity. The same evidence is present in this case.

        During the investigation, the UC investigator received information that Plaintiff was

intoxicated when she engaged in sexual activity with John Doe. (See, generally, November 27, 2017

Ivestigative Report, #UC_00197-216; Witness Statements and Exhibits, #UC_00114-00152.)

Plaintiff told the investigator that she had played drinking games earlier in the evening (Witness

Statement, #UC_00127 (Plaintiff “stated that she played flip cup and took shots”).) Plaintiff also told

the investigator that she fell asleep in John Doe’s room, and that when she was awakened by John


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Doe’s roommates, she felt dizzy. The investigative report states: “[Plaintiff] stated that she told them

that she was too dizzy to walk home.” (Witness Statement, #UC_00128) She told the investigator

that after complaining that she was dizzy, John Doe “curled up next to her and put his arm around

her”; he subsequently kissed her and digitally penetrated her. (Witness Statement, #UC_00128). One

of the witnesses confirmed Plaintiffs statement that she felt “dizzy.”               (Witness Statement,

#UC_00121)3 Other witnesses confirmed that Plaintiff had been drinking. (Witness Statement,

#UC_00129) A third witness said Plaintiff and John Doe “both got intoxicated” at the party. (Witness

Statement, #UC_00136) A picture from the night could reasonably be interpreted as showing Plaintiff

in an intoxicated state. (Exhibit, #UC_00144)

          At the hearing, Plaintiff testified that she had been drinking:

          MS. MITCHELL: And approximately how many drinks did you have?

          [JANE ROE]: I don’t know exactly how many drinks. We played drinking games
          before arriving at the party. I drank vodka with some orange juice and beer during the
          party games.

(January 26, 2018 Hrg. at 21-22, #UC_00269-70.) Later, Plaintiff testified that she was “tipsy, not too

drunk . . .”4 (January 26, 2018 Hrg. at 24, #UC_00270)

          Plaintiff also testified that, at John Doe’s apartment, she did felt dizzy and that, a short time

later, John Doe initiated sexual contact.. She testified:

          I began to experience vertigo. I lied down on the edge of the bed and fell asleep. The
          next thing I remember is [John Doe’s] roommates barging in the room and insisting I
          go home. . . I said no, that I was too dizzy and requested a minute to sit down. They
          took [John Doe] out of the room and when he returned, he was no longer wearing a
          shirt. He got in bed where I was already laying, and one of his roommates turned out
          the lights and shut the door. [John Doe] moved over to me and initiated the contact
          between us . . .


3
    This witness did not believe Plaintiff. (Witness Statement, #UC_00121)
4
 “Tipsy” might be sufficient to trigger the UC Title IX Policy, which prohibits sexual activity with a
person who is “impair[ed] or incapacitate[ed] due to age, alcohol or drug consumption . . .”
(Complaint Ex. C.)

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(January 26, 2018 Hrg. at 24, #UC_00269).

        Based on this information, the analysis from the court in Miami Univ. is applicable to this case:

the administrators, investigators, and hearing panel all knew that John Doe had potentially violated

the University's sexual misconduct provisions at the same time they were reviewing the allegations

against Plaintiff. Yet, the school administrators, investigators and hearing officers chose to pursue

disciplinary action against Plaintiff but not John Doe. Compare 882 F.3d at 596 (describing Equal

Protection claim). Significantly, Plaintiff does not need the Court to determine that she did not

commit misconduct in order to state a substantial likelihood of success on a Equal Protection claim;

this claim is stated sufficiently to establish a substantial likelihood of success if the Court finds that

the UC administrators, investigators, and hearing officers had credible information that both students

had potentially violated the University's sexual misconduct policy, but chose not to pursue disciplinary

action against the male student, but only against the female student.5

B.      The Discovery Provided By UC Supports A Finding That Plaintiff Has A Substantial
        Likelihood of Success on Her Due Process Claim

        The Due Process violation in this case flows from the failure of UC to permit Jane Roe to

effectively cross-examine her accuser and key witnesses.

        1.      Factual Basis

        Jane Roe was prohibited from asking questions about the April 2017 Complaint to CB and

John Doe. These questions would have revealed the possible biases, prejudices, or ulterior motives

that colored the testimony at the hearing. (See Wieczorek Decl. ¶7; Roe Decl. ¶6.) Plaintiff states:

        I wished to defend myself against the allegations by John Doe by claiming that, as a
        result of the April 2017 Complaint: (i) John Doe and CB were biased and not credible

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  The fact that UC faced allegations in multiple prior lawsuits that it discriminated against males
students provided UC with an incentive to discriminate against the female student in this case in order
to ‘even the scales.’ See Smith v. Lockheed-Martin Corp., 644 F.3d 1321, 1344 and n. 78 (11th Cir. 2011)
(jury could infer that the racial animus that drove company “to fire the white non-supervisors during
this time also led [defendant] to fire white supervisors” following an investigation).

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        because they harbored a grudge against me; and (ii) John Doe and CB were motivated
        to bring a complaint against Jane Roe in retaliation for the April 2017 Complaint.

(Roe Decl. ¶4. See also Wieczorek Decl. ¶4 (same).)

        This happened in three ways.

        First, Plaintiff and her attorney have both submitted declarations stating that a UC attorney

in the Title IX office told them that Plaintiff would not be permitted to mention the April 2017

Complaint at her hearing or submit questions to John Doe or witnesses about the April 2017

Complaint. (Roe Decl. ¶5(a); Wieczorek Decl. ¶6(a).). This is consistent with a note from one of the

hearing panel members emphasizing that the Panel should “disregard previous incidents.”




(Notes, #UC_00UC 230)

        Second, at a number of points during the hearing, witnesses started to refer to the April 2017

Complaint. The Chair of the Hearing Panel, Mitchell, stopped any testimony on this issue. For

example, when one witness attempted to mention the April 2017 Complaint, Mitchell quickly stepped

in to redirect the testimony:




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(January 26, 2018 Hrg. at 124, #UC_00295). During CB’s testimony, Mitchell not only stopped any

testimony about the April 2017 Complaint, but attempted to re-frame CB’s testimony in a misleading

way:6




(January 26, 2018 Hrg. at 64, #UC_00280.)



6
 Mitchell appears to be re-framing CB’s testimony as expressing a concern about John Doe’s physical
“safety.” However, it appears that CB was really attempting to express a concern that Jane Roe would
make an accusation of sexual misconduct against John Doe.

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        Third, despite the direction prior to the hearing, Plaintiff sought to submit a question to CB

about the April 2017 Hearing. Plaintiff submitted the following question:




(Notes, #UC_00220.) It is unclear why the question is crossed out (or who crossed it out); but it is

clear that the question is part of the record, it was submitted by Plaintiff, and was not asked of CB.

(See Roe Decl. ¶5(b); Wieczorek Decl. ¶6(b).)

        2.      Legal Analysis

        In the Sixth Circuit, higher education disciplinary decisions implicate the Due Process Clause.

Flaim v. Med. Coll. of Ohio, 418 F.3d 629, 633 (6th Cir. 2005). Each particular situation may demand

different procedural protections. Mathews v. Eldridge, 424 U.S. 319, 334 (1976). The well known three-

part Mathews test is:

        First, the private interest that will be affected by the official action; second, the risk of
        an erroneous deprivation of such interest through the procedures used, and the
        probable value, if any, of additional or substitute procedural safeguards; and finally,
        the Government's interest, including the function involved and the fiscal and
        administrative burdens that the additional or substitute procedural requirement would
        entail.

424 U.S. at 335.

        In college and university disciplinary hearings, the Due Process guarantees of the Constitution

includes a right to effectively confront adverse witnesses when the information supplied by those


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witnesses is the reason for the adverse actions and there is a question of credibility to be resolved by

the finder of facts. Goldberg v. Kelly, 397 U.S. 254, 269 (1970) (“in almost every setting where important

decisions turn on questions of fact, due process requires an opportunity to confront and cross-

examine adverse witnesses”); Winnick v. Manning, 460 F.2d 545, 550 (2d Cir. 1972) (“if this case had

resolved itself into a problem of credibility, cross-examination of witnesses might have been essential

to a fair hearing”); Flaim, 418 F.3d 629, 641 (6th Cir. 2005) (when there is “a choice between believing

an accuser and an accused, . . . cross-examination is not only beneficial, but essential to due process”);

Doe v. Cummins, , 662 F. App'x 437 (6th Cir. 2016) (“due process may require a limited ability to cross-

examine witnesses in school disciplinary hearings where . . . credibility is at issue”); Doe v. Univ. of

Cincinnati, 872 F.3d 393, 401 (6th Cir. 2017) (“Accused students must have the right to cross-examine

adverse witnesses ‘in the most serious of cases.’”), quoting Flaim.

        In this case, Plaintiff had the opportunity to ask questions of adverse witnesses; that is not the

issue. Instead, the issue before the Court is whether Plaintiff had the opportunity to exercise this right

in an effective manner. Courts, have observed that when persons have the right to cross-examination in

civil-administrative hearings, the administrative agency must permit that right to be exercised in an

effective manner. Galvin v. New York Racing Assn., 70 F.Supp.2d 163 (E.D.N.Y.1998). In Galvin, for

example, a track veterinarian facing a suspension stated a due process claim when the racing

commission deprived him of “effective cross-examination” due to failure to present an investigative

report through competent witnesses.7 70 F.Supp.2d at 178. In the context of social security hearings,

courts have held that a claimant's right to procedural due process is violated where a claim is denied

based upon post-hearing medical reports without giving the claimant an opportunity to cross-examine



7
  The Galvin court further observed that the ability of the veterinarian to present a defense did not
ameliorate the due process problems, noting that the due process guarantees of the constitution insure
a “meaningful, as opposed to a lengthy, hearing.” 70 F.Supp.2d at 178.

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the authors of those reports. See Demenech v. Sec'y of the Dep't of Health & Human Servs., 913 F.2d 882,

884-85 (11th Cir. 1990); Wallace v. Bowen, 869 F.2d 187, 192 (3d Cir. 1989). These courts have observed

that “effective cross-examination” is necessary to reveal what evidence the physician considered or

failed to consider and how firmly the physician holds to the conclusions. See Wallace, 869 F.2d at 192;

Demenech, 913 F.2d at 885.

        The right to effectively cross-examine adverse witnesses is tied to the fundamental due process

right to a hearing that is “meaningful,” or as Justice Powell explained, “fair.” Vitek v. Jones, 445 U.S.

480, 500, 100 S. Ct. 1254 (1980) (Powell, J., concurring in part) (“The essence of procedural due

process is a fair hearing.”). See Doe v. Cummins, 662 F.App'x 437 (6th Cir. 2016) (a student facing

suspension is entitled to “the opportunity to be ‘heard at a meaningful time and in a meaningful

manner.’”), quoting 424 U.S. at 333; Doe v. Rector & Visitors of George Mason Univ., E.D.Va. No. 1:15-cv-

209, 2016 U.S. Dist. LEXIS 24847, at *46-47 (Feb. 25, 2016) (“it may well be that plaintiff deserves

to be expelled or otherwise sanctioned for certain behavior, but the Constitution requires that if

behavior is to be sanctioned, then the state must ensure the soundness of the decision it reaches as

the situation requires.”). The purpose of cross-examination – in school disciplinary hearings as in

trials – is to find the truth. “Few procedures safeguard accuracy better than adversarial questioning.”

Univ. of Cincinnati, 872 F.3d at 401. See also Newsome v. Batavia Local School Dist., 842 F.2d 920, 923-24

(6th Cir.1988) ( “the value of cross-examination to the discovery of truth cannot be overemphasized”),

citing Davis v. Alaska, 415 U.S. 308, 316 (1974) (“Cross-examination is the principal means by which

the believability of a witness and the truth of his testimony are tested.”); Furey v. Temple Univ., 884

F.Supp.2d 223, 251-252 (E.D.Pa. 2012) (“The purpose of cross-examination is to ensure that issues

of credibility and truthfulness are made clear to the decision makers. Given the importance of

credibility in this Hearing . . . the Court considers this an important safeguard.”).




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         Plaintiff has a substantial likelihood of success on the merits of showing that the exclusion of

all evidence and questions about the April 2017 Complaint deprived Plaintiff of an opportunity for

effective cross-examination of key adverse witnesses. Applying the three-part Mathews test leads to

this result:

         (1) The private interest that will be affected by the official action:

               The Sixth Circuit has explicitly held that private interest at stake in school disciplinary
               hearings “is substantial.” Univ. of Cincinnati, 872 F.3d at 406.

         (2) The risk of an erroneous deprivation and the probable value, if any, of additional or
             substitute procedural safeguards:

               The April 2017 Complaint was probative on the central issue of Plaintiff’s guilt, as it
               directly called into question the potential bias of the key witnesses The evidence was not
               speculative; all of the witnesses were aware of the April 2017 Complaint and would not
               have been surprised to be questioned on this topic. As a result, the exclusion of the
               evidence of the April 2017 Complaint significantly hindered Plaintiff’s defense and denied
               the hearing panel the opportunity to assess the credibility of the adverse witnesses. Her
               advisor, an attorney, explains:

                  Jane Roe sought to defend herself against the allegations by John Doe claiming
                  that, as a result of the April 2017 Complaint: (i) John Doe and CB were biased
                  and not credible because they harbored a grudge against Jane Roe; and (ii) John
                  Doe and CB were motivated to bring a complaint against Jane Roe in
                  retaliation for the April 2017 Complaint.

               (Wieczorek Decl. ¶5.)

         (3) The government’s interest:

               UC already allows accused students to pose questions to witnesses at certain disciplinary
               hearings. Allowing questions about motive would not pose any additional administrative
               burden on UC.

         This Court recently held that the inability of a student to effectively cross-examine his accuser

on issues of credibility violated the student’s right to due process. Doe v. Ohio State Univ., S.D.Ohio

No. 2:15-cv-2830, 2018 U.S. Dist. LEXIS 68364 (Apr. 24, 2018). In Ohio State, this Court, on a

summary judgment standard, considered a situation that resembled this case in many respects. The

alleged victim claimed that she was too drunk to consent to sexual activity, but generally did not recall


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the sexual encounter. The accused student claimed that the alleged victim appeared relatively sober

and consented to and actively participated in sexual activity. The disciplinary board, relying in part on

testimony from witnesses, resolved the issue of credibility by finding that the alleged victim was too

intoxicated to consent to sexual activity and that the accused student had violated Ohio State’s sexual

misconduct policy. This Court described the situation the essential question the Board had to answer

as follows:

        Other than conflicting third-party testimony, the proof of her intoxication comes
        down to who you believe: John Doe, or Jane Roe. One might ask: what reason would
        Jane Roe have for making this up?

2018 U.S. Dist. LEXIS 68364, at *21. The same question, “what reason would John Doe have for

making this up” could be said about this case. As in this case, the student in Ohio State was permitted

to question his accuser, but was not able to question her on a key fact that went to her motivate to

fabricate or exaggerate.8 This Court found that this could create a due process violation. This Court,

applying the Mathews test said, “Without the opportunity to cross-examine [the complainant] on her

motive to lie, the risk of erroneously disciplining [the accused student] was high.” 2018 U.S. Dist.

LEXIS 68364, at *29-30.

        This Court, also recently, considered precisely this question in Gischel v. Univ. of Cincinnati,

S.D.Ohio No. 1:17-cv-475, 2018 U.S. Dist. LEXIS 18083 (Feb. 5, 2018). In Gischel, this Court

considered whether, following Doe v. University of Cincinnati, a due process violation could arise if the

adjudicative panel refused to ask entire categories of questions the accused student deemed critical to

his or her defense. The UC panel in Gischel refused to ask questions proffered by an accused student

in a Title IX/Sexual Misconduct adjudication about the bias of the investigator due to his alleged




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 In Ohio State, the alleged victim was threatened with expulsion from medical school and was able to
remain in school because she claimed to be the victim of a sexual assault.

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“romantic feelings” the complainant.9 This Court concluded, on a motion to dismiss standard, that

the failure of the panel to ask questions designed to show the bias of witnesses constituted a plausible

procedural due process claim. 2018 U.S. Dist. LEXIS 18083, at *36-37.10

         This Court’s decisions in Ohio State and Gischel should apply in this case. In Ohio State, the

plaintiff “couldn't effectively cross-examine [the accused student] on a critical issue: her credibility,

and specifically, her motive to lie.” 2018 U.S. Dist. LEXIS 68364, at *30. In Gischel, a UC hearing

panel refused to ask entire categories of questions the plaintiff sought to ask designed to show the

bias and lack of credibility of key witnesses. Similarly, in this case, Plaintiff was prohibited from asking

questions about the bias and motive to lie of not only the alleged victim, but also a key witness. While

the mechanism for this deprivation in Ohio State and Gischel was slightly different – in Ohio State the

school withheld the impeachment evidence and in Gischel one of the witnesses never appeared at the

hearing --– the result is the same: the procedural due process right of the accused students were

violated because the accused students could not effectively cross examine their accusers on issues of

credibility. See also Newton v. Kemna, 354 F.3d 776, 781 (8th Cir.2004) (“one goal of effective cross-

examination is to impeach the credibility of opposing witnesses”).11


9
 The Panel also refused to ask additional categories of questions, including whether the alleged victim
gave inconsistent or inaccurate statements. 2018 U.S. Dist. LEXIS 18083 at *37.
10
   This Court in Gischel distinguished between the official capacity and individual capacity claims,
holding that the defendants in their individual capacities were entitled to qualified immunity. 2018
U.S. Dist. LEXIS 18083 at *38. The issue of qualified immunity is not relevant to the question of
injunctive relief before the Court. “Qualified immunity does not prohibit the issuance of a preliminary
injunction.” Mattia v. City of Ctr. Line, E.D.Mich. No. 17-11169, 2017 U.S. Dist. LEXIS 207611, at *32
(Dec. 18, 2017), citing Ward v. Polite, 667 F.3d 727, 742 (6th Cir. 2012) (“Qualified immunity shields
government officials from monetary damages, not from injunctive relief.”) See also Smith v. Leis, 407 F.
App'x 918, 930 (6th Cir. 2011) (“[A] court could award both declaratory and injunctive relief in an
action against a defendant protected by qualified immunity.”); Collyer v. Darling, 98 F.3d 211, 222 (6th
Cir. 1996) (“[I]mmunity only precludes claims for monetary damages against officials in their
individual capacities, and not claims for injunctive or declaratory relief.”).
11
  The Court, understandably, does not wish to be in a position of having to second-guess school
evidentiary rulings. That is not the issue in this case, just as it was not the issue in Gischel. The Court
does not need to find that right to unlimited cross-examination exists in every case to grant this
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                                         CONCLUSION

       Pursuant to Fed. R. Civil P. 65, this Court should grant a Preliminary Injunction prohibiting

Defendants from imposing any disciplinary sanctions against Jane Roe.



                                                      Respectfully submitted,


                                                              /s/ Joshua Adam Engel
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                                                      Anne Tamashasky (0064393)
                                                      Jim Hardin (0056247) (admission pending)
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                                 CERTIFICATE OF SERVICE

I hereby certify that a copy of the foregoing has been electronically served via the Court’s CM/ECF
system this 28th day of June upon all counsel of record.

       /s/ Joshua Adam Engel
Joshua Adam Engel (0075769)




Motion; the Court can simply find that this obligation exists in this case with respect to information
that would show a witness was biased or had motive to fabricate.

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